 1                                                                              The Honorable Karen A. Overstreet
                                                                                Chapter: 11
 2                                                                              Hearing Date: January 17, 2014
                                                                                Hearing Time: 9:30 am
 3
                                                                                Response Date: January 10, 2014
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 8                              UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9
     In Re:                                                         )
10                                                                  )     Case No. 13-19746-KAO
     CLI HOLDINGS, INC. dba ALYDIAN,                                )
11                                                                  )     NOTICE OF HEARING ON DEBTOR’S
                                                     Debtor.        )     APPLICATION TO EMPLOY DENALI
12
                                                                    )     FINANCIAL CONSULTING LLC AS
13                                                                  )     ACCOUNTANT

14            PLEASE TAKE NOTICE that the DEBTOR’S APPLICATION TO EMPLOY DENALI
15   FINANCIAL CONSULTING LLC AS ACCOUNTANT is set for hearing as follows:
16
      JUDGE: Honorable Karen A. Overstreet                                    TIME: 9:30 a.m.
17    PLACE: U.S. Courthouse, Courtroom 7206                                  DATE: January 17, 2014
18           700 Stewart Street
             Seattle, WA 98101-1271
19
              IF YOU OPPOSE the Application, you must file your written response with the clerk of
20
     the court, serve a copy on the Judge’s chambers (if more than 25 pages) and deliver copies to the
21

22   undersigned NOT LATER THAN THE RESPONSE DATE, which is January 10, 2014. IF NO

23   RESPONSE IS TIMELY FILED AND SERVED, the Court may, in its discretion, GRANT THE
24   APPLICATION WITHOUT FURTHER NOTICE, and strike the hearing.
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                                                                                              L AW O F F I C E S O F
     NOTICE OF HEARING (13-19746-KAO) Page - 1
                                                                                     K E L L E R R O H R B AC K         L.L.P.
                                                                                       1201 TH IRD AVENUE, SUITE 3200
                                                                                      SEATTLE, W ASHING TON 98101-3052
     N:\CLIENTS \29744\1\PLEADINGS \ACCT APPOINTMENT\N OTICE OF HEARING.DOC              TELEPHONE: (206) 623-1900
                                                                                         FACSIMILE: (206) 623-3384
       Case 13-19746-KAO                Doc 82        Filed 12/27/13          Ent. 12/27/13 18:19:02                   Pg. 1 of 2
 1            DATED this 27th day of December, 2013.
 2                                                             KELLER ROHRBACK L.L.P.
 3

 4
                                                               By: /s/Deirdre P. Glynn Levin
 5                                                                 Deirdre P. Glynn Levin, WSBA #24226
                                                                   Attorneys for Debtor
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     NOTICE OF HEARING (13-19746-KAO) Page - 2
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